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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                           UNITED STATES DISTRICT COURT                              September 14, 2023
                            SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                                HOUSTON DIVISION

KIMALETHA WYNN, et al,                          §
                                                §
        Plaintiffs,                             §
VS.                                             §   CIVIL ACTION NO. 4:18-CV-4848
                                                §
HARRIS COUNTY, TEXAS, et al,                    §
                                                §
        Defendants.                             §


                                     FINAL JUDGMENT

       Plaintiffs Kimaletha Wynn, Jeanique McGinnis, Valene Hoskins, and Christina Bluefield

Picket brought this suit against Leesa Brown, Harris County, Sheriff Ed Gonzalez, Patricio Lau,

and Abraham Romero. On July 8, 2021, the Court granted Defendant Brown’s Motion to Dismiss.

On August 11, 2023, following a hearing, the Court granted Defendants Harris County, Gonzalez,

and Lau’s Motions for Summary Judgment (ECF Nos. 189, 190, 194). On September 13th, 2023,

the Court issued an Order dismissing Plaintiffs’ claims against Romero for failure to prosecute.

       Accordingly, pursuant to Federal Rule of Civil Procedure 58(a), and for reasons set forth

at the hearings, final judgment is hereby ENTERED for Defendants. Accordingly, the Clerk is

directed to CLOSE this case.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas on this the 13th of September, 2023.


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                                                    KEITH P. ELLISON
                                                    UNITED STATES DISTRICT JUDGE
